      Case 1:22-cv-01032-PKC-JRC Document 138 Filed 02/16/23 Page 1 of 1 PageID #: 1996
AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                               Eastern District
                                             __________         of of
                                                         District  New  York
                                                                      __________


                  IME WATCHDOG, INC.                           )
                             Plaintiff                         )
                                v.                             )      Case No.     1:22-cv-1032 (PKC) (JRC)
          SAFA ABDULRAHIM GELARDI, et al.                      )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Nicholas Liakas                                                                                              .


Date:          02/16/2023                                                              /s/ James F. Valentino
                                                                                         Attorney’s signature


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